                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 L.W., by and through her parents and next friends,      )
 Samantha Williams and Brian Williams, et al.            )
                                                         )
         Plaintiffs,                                     )
                                                         )             No. 3:23-cv-00376
 v.                                                      )             JUDGE RICHARDSON
                                                         )             JUDGE NEWBERN
 JONATHAN SKRMETTI, in his official capacity             )
 as the Tennessee Attorney General and Reporter, et      )
 al.,                                                    )
                                                         )
         Defendants.                                     )

                          EMERGENCY MOTION FOR A STAY OF
                       PRELIMINARY INJUNCTION PENDING APPEAL

        Before Defendants can ask the Sixth Circuit for a stay pending appeal, the Rules require them

to ask this Court first. See Fed. R. App. P. 8(a)(1). Defendants think a stay is warranted. But they

appreciate that, having just granted a preliminary injunction, this Court disagrees that Defendants are

likely to succeed on appeal. So if this Court intends for its preliminary injunction to remain in full

force, then Defendants respectfully ask it to deny this motion quickly, without waiting for a response

from Plaintiffs, so that Defendants can proceed to the Sixth Circuit.

        But even if this Court thinks Defendants are unlikely to succeed on the merits, it can and

should enter a stay. District courts stay their own injunctions all the time. E.g., George v. Hargett, 879

F.3d 711, 715 (6th Cir. 2018); Texas v. United States, No. 4:18-cv-00167-O, Doc. 221 (N.D. Tex. Dec.

31, 2018). They do so because, even though they rejected the movant’s arguments, they recognize that

those arguments present serious questions that the appellate court could see differently. This serious-

questions standard is easily met here. These serious questions, coupled with the irreparable harm to

Tennessee and its children, warrant a stay. They at least warrant a stay of this Court’s injunction to

the extent it applies beyond the individual plaintiffs. In the alternative, this Court should enter an



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administrative stay of its injunction to the extent it applies beyond the individual plaintiffs until the

Sixth Circuit has an opportunity to decide an emergency motion to stay this Court’s injunction pending

appeal. The Court should rule as soon as possible. 1

                                              ARGUMENT
           Stays pending appeal turn on four factors: the movant’s likelihood of success on appeal,

irreparable harm to the movant, harm to others, and the public interest. Mich. Coal. of Radioactive

Material Users, Inc. v. Griepentrog, 945 F.2d 150, 153 (6th Cir. 1991). The last two factors merge here.

SawariMedia, LLC v. Whitmer, 963 F.3d 595, 596 (6th Cir. 2020). All four factors, moreover, are “not

prerequisites that must be met” but must be “balanced together.” Griepentrog, 945 F.2d at 153.

Movants thus can get a stay if they show “‘serious questions going to the merits.’” Antonio v. Garland,

38 F.4th 524, 526 (6th Cir. 2022). The balance of these factors warrants a stay here.

      I.       The State is likely to succeed on appeal and, at a minimum, presents serious
               questions on the merits.
           Tennessee is likely to succeed on appeal. “States … are the traditional source of authority over

safety, health, and public welfare.” In re MCP No. 165, Occupational Safety & Health Admin., Interim Final

Rule: COVID-19 Vaccination & Testing, 20 F.4th 264, 273 (6th Cir. 2021) (Sutton, J., dissenting from

denial of initial hearing en banc). They “enjoy a ‘general power of governing’” known “as their ‘police

power.’” Id. at 286-87 (Bush, J., dissenting from denial of initial hearing en banc) (quoting Nat’l Fed.

of Indep. Bus. v. Sebelius, 567 U.S. 519, 536 (2012)); see id. (“States instead enjoy a residual authority to

regulate within their borders—a power that pre-dates the Constitution and does not derive from it.”).

“Part and parcel” of that police power “is the power to regulate public health.” Id. at 287. “Indeed,

the [Supreme] Court has called” that fact “a ‘settled principle.’” Id. Tennessee validly exercised that

power here.




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    Defendants notified Plaintiffs of Defendants’ intent to seek a stay. Plaintiffs oppose this motion.


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        As explained, Plaintiffs’ arguments regarding substantive due process and equal protection fail.

First, parents have no fundamental right to have the proscribed treatments performed on their

children. Plaintiffs offer only 21st-century research for the proposition that this right is “‘deeply

rooted in this Nation’s history and tradition’ and ‘implicit in the concept of ordered liberty.’” Dobbs

v. Jackson Women’s Health Organization, 142 S.Ct. 2228, 2242 (2022) (quoting Washington v. Glucksberg,

521 U.S. 702, 721 (1997)); see PI Opp. (Doc. 112) at 3-4. Second, the Act proscribes treatments equally

for minors of both sexes. See PI Opp. 4-9. And contrary to Plaintiffs’ assertions, the Act is not sex

discrimination just because it relates in some way to biological sex. See Dobbs, 142 S.Ct. at 2245-46

(holding that States retain broad authority to regulate medical treatments, including the prohibition of

treatments that apply only to patients of one sex).

        At a minimum, though, this Court’s injunction presents “‘serious questions going to the

merits.’” Antonio v. Garland, 38 F.4th 524, 526 (6th Cir. 2022). To name just a few:

        1. This Court ruled that strict scrutiny applies to laws restricting parents’ ability to have

medical procedures performed on their children. Op. at 15. To reach this conclusion, the Court

acknowledged Defendants’ reading of Kanuszewski v. Mich. Dep’t of Health & Hum. Servs., 927 F.3d 396

(6th Cir. 2019)), “is certainly cognizable,” Op. at 13; distinguished the Supreme Court’s decision in

Glucksberg, based on this Court’s reading of subsequent Sixth Circuit caselaw; and rejected the

applicability of Dobbs.

        2. This Court ruled that transgender individuals constitute a quasi-suspect class under the

Equal Protection Clause, Op. at 25, which neither the Supreme Court nor the Sixth Circuit have ever

done, Op. at 22. This Court reached that holding despite acknowledging that “the current record in

this case is not fulsome” regarding the history-of-past-discrimination requirement, Op. at 24 n.22, and

by casting doubt on “whether the Sixth Circuit’s reasoning in Ondo [v. City of Cleveland, 795 F.3d 597

(6th Cir. 2015)] rests on solid ground,” Op. at 22 n.21.



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          3. This Court ruled that the Act discriminated on the basis of sex because it “contains a

sex-based classification on its face,” Op. at 29—despite the Court finding Defendants’ arguments to

the contrary “not frivolous,” Op. at 27—and also because of this Court’s expansive reading of Bostock’s

Title VII reasoning as defining the contours of disparate treatment under the Equal Protection Clause,

Op. 30-31, even though the Sixth Circuit has repeatedly turned aside efforts to apply Bostock to

different federal laws, see, e.g., Meriwether v. Hartop, 992 F.3d 492 (6th Cir. 2021); Pelcha v. MW Bancorp,

Inc., 988 F.3d 318 (6th Cir. 2021).

          4. This Court repeatedly replaced the judgments of the Tennessee General Assembly with its

own evaluation of various expert reports and declarations, all the while acknowledging that what this

Court was doing “is not a perfect science,” Op. at 48. As in the abortion context, district courts are

not supposed to “second-guess a state’s medical scientific judgments” or substitute their own moral

and policy decisions for those of a democratically elected legislature. Bristol Reg’l Women’s Ctr., P.C. v.

Slatery, 7 F.4th 478, 483 (6th Cir. 2021) (en banc).

    II.      The State and public will suffer irreparable injuries without a stay, while
             Plaintiffs’ harms remain speculative.
          Tennessee will suffer irreparable harm unless the Court issues a stay. It is “in the public

interest” to enforce the State’s democratically enacted laws, Thompson v. DeWine, 976 F.3d 610, 619

(6th Cir. 2020), and a preliminary injunction “interfer[es] with [the State’s] authority” to execute those

laws, Arizona v. Biden, 31 F.4th 469, 482 (6th Cir. 2022). Thus “any time a State is enjoined by a court

from effectuating statutes enacted by representatives of its people, it suffers a form of irreparable

injury.” Memphis Ctr. for Repro. Health, No. 20-5969, Doc. 33 at 5; accord Abbott v. Perez, 138 S. Ct. 2305,

2324 (2018); Detroit Newspaper Publisher Ass’n v. Detroit Typographical Union, 471 F.2d 872, 876 (6th Cir.

1972).

          Though this harm is irreparable and well-established, Plaintiffs’ alleged harms are not. A stay

pending appeal will “not substantially injure” Plaintiffs. Arizona, 31 F.4th at 482. “[S]tart with the


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reality that” the law does not yet “directly injure” them. Id. at 474. Plaintiffs’ alleged harms remain

“speculative,” D.T., 942 F.3d at 327, and the challenged portions of the Act are not causing them. See

PI Opp. 17-22. As explained, the Act allows them to continue existing treatments until March 31,

2024—many months from now. Def’s Resp. at 22. To the extent providers are cutting them off

earlier than that, the Act is not driving their decision. And a mere preliminary injunction, especially

one that leaves the private right of action intact, would not undo their decision. Furthermore, the

Court ignored Dr. Laidlaw’s testimony that all three minor Plaintiffs could stop their treatment in a

matter of weeks, meaning that titration could be initiated in early 2024 and still comply with the March

31, 2024 deadline. Def’s Resp. at 18. At this point, Plaintiffs’ alleged injuries amount to “ifs and

maybes.” Arizona, 31 F.4th at 482. While other minors cannot begin treatment after July 1, none of

those other minors are plaintiffs. Given all this, “it is hard to see how lifting the injunction pending

appeal will result in substantial and distinct injuries” to Plaintiffs. Id.

           As for others, Plaintiffs submitted no evidence about other Tennessee minors. Defendants

submitted substantial evidence that these treatments risk long-term health consequences that the

children who receive them often come to regret, including the statements from VUMC doctors

acknowledging the lack of support for the treatment they provide and declarations from

detransitioners and their parents. Def’s Resp. at 9-16. “It is not the Court’s role to second-guess”

Tennessee’s “reasoned public health decisions,” especially on a truncated record in an emergency

posture. Loc. Spot, Inc. v. Cooper, 2020 WL 7554247, at *3 (M.D. Tenn. Dec. 21).

    III.       At the very least, this Court should stay the statewide nature of the injunction.
           Should this Court decline to stay the preliminary injunction in full, it should at least st ay the

injunction insofar as it applies beyond the named individual plaintiffs. Statewide relief “exceed[s] [this

Court’s] authority.” Arizona, 31 F.4th at 483 (Sutton, J., concurring). Injunctions can be “no more

burdensome … than necessary to provide complete relief to the plaintiffs.” Commonwealth v. Biden, 57



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F.4th 545, 557 (6th Cir. 2023). Under Article III, a valid remedy “‘operate[s] with respect to specific

parties,’” not on “a law ‘in the abstract.’” Arizona, 31 F.4th at 483 (6th Cir. 2022) (Sutton, J.,

concurring) (quoting California v. Texas, 141 S. Ct. 2104, 2115 (2021)). So when a district court

“order[s] the government” to “refrain from acting toward nonparties,” it “take[s] the judicial power

beyond its traditionally understood uses.” Id. at 483-84 (Sutton, J., concurring). Hence why “courts

generally grant relief in a party-specific and injury-focused manner.” Id. at 483 (citing Gill v. Whitford,

138 S. Ct. 1916, 1934 (2018)). Only class actions—which this case is not—“permi[t] a district court

to bind nonparties.” Id. Even Doe v. Ladapo, which this Court extensively relied upon, preliminarily

enjoined Florida Defendants from taking “steps to prevent the administration of GnRH agonists or

cross-sex hormones to” only the three minor plaintiffs in that case. 2023 WL 3833848, at *17 (N.D.

Fla. June 6). This Court even acknowledges that it is Defendants who are “invoking the actual words

used by the Supreme Court,” Op. at 67, in United States v. Salerno, 481 U.S. 739 (1987).

        The “universal remed[y]” the Court gave Plaintiffs here is a “victor[y] they did not earn.”

Arizona, 31 F.4th at 483. Here, the relevant parties seeking protection are three minors. Staying the

injunction as to treatment of all nonparty minors would not possibly harm them. And it would best

honor Judge Sutton’s admonition to “think twice—and perhaps twice again—before granting” such

broad relief. Id. at 484.

                                           CONCLUSION
        For all these reasons and more, this Court should stay its preliminary injunction pending

appeal or, in the alternative, grant an administrative stay of its application beyond the individual

plaintiffs until the Sixth Circuit has a chance to decide whether a stay pending appeal is appropriate.




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Dated: June 28, 2023                     Respectfully submitted,


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        I hereby certify that on June 28, 2023, the undersigned filed the foregoing document via this

Court’s electronic filing system, which sent notice of such filing to the following counsel of record:

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